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 6
 7        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
 8                                               CALIFORNIA
 9
10   THE UNITED STATES OF AMERICA,                 ) CASE: 2:13-cr-00304
11                                                 )             and related to
                                                   )             2:07-cr-00348
12                                                 )
                     Plaintiff                     ) STIPULATION AND ORDER
13                                                 )
14   v.                                            ) DATE: December 4, 2014
                                                   ) TIME: 9 a.m.
15   Darron Reed                                   ) DEPT: 7
                                                   )
16
                     Defendant                     )
17   ______                                        )

18         Plaintiff United States of America, by and through its counsel of record, and
19
     defendant, by and through defendant’s counsel of record, hereby stipulate as follows:
20
21            1. By previous order, this matter was set for status on December 4, 2014. It is

22            noted that the matter consists of two related cases, including a petition alleging a
23
              violation of the terms of supervised release in case CR S 07-348 MCE.
24
              2. By this stipulation, defendant now moves to continue the sentencing until
25
26            January 15, 2015, and to exclude time between December 4, 2014, and January 15,
27
              2015, under Local Code T4, in case CR S 13-304 MCE.
28
              3. The parties agree and stipulate, and request that the Court find the following:
          1 STIPULATION REGARDING EXCLUDABLE TIME
                PERIODS UNDER SPEEDY TRIAL ACT
       Case 2:07-cr-00348-MCE Document 127 Filed 11/26/14 Page 2 of 3


 1           a) The government has represented that the discovery associated with this
 2
             case is primarily physical evidence, seized from the defendant’s residence,
 3
             which is available for review by his counsel.
 4
 5           b) Counsel for defendant desires additional time allow the defendant to
 6           complete his medical treatment. The defendant has undergone one of two
 7
             required surgeries and UC Davis. Failure to complete the second procedure
 8
 9           in a timely manner could prove fatal to the defendant.
10           c) Counsel for defendant believes that failure to grant the above-requested
11
             continuance would deny him the reasonable time necessary for effective
12
13           preparation, taking into account the exercise of due diligence.

14           d) The government does not object to the continuance.
15
             e) Based on the above-stated findings, the ends of justice served by
16
17           continuing the case as requested outweigh the interest of the public and the

18           defendant in a trial within the original date prescribed by the Speedy Trial
19
             Act.
20
21           f) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

22           § 3161, et seq., within which trial must commence, the time period of
23
             December 4, 2014 to January 15, 2015 inclusive, is deemed excludable in
24
             case CR S 13-304 MCE pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)
25
26           [Local Code T4] because it results from a continuance granted by the Court
27
28

     2 STIPULATION REGARDING EXCLUDABLE TIME
        PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:07-cr-00348-MCE Document 127 Filed 11/26/14 Page 3 of 3


 1                at defendant’s request on the basis of the Court’s finding that the ends of
 2
                  justice served by taking such action outweigh the best interest of the public
 3
                  and the defendant in a speedy trial.
 4
 5         4. Nothing in this stipulation and order shall preclude a finding that other
 6         provisions of the Speedy Trial Act dictate that additional time periods are
 7
           excludable from the period within which a trial must commence.
 8
 9   IT IS SO STIPULATED.

10   Dated: November 20, 2014                   BENJAMIN B. WAGNER United States Attorney
11                                              /s/ PHILIP A. FERRARI
12                                              PHILIP A. FERRARI
                                                Assistant United States Attorney
13
14
     Dated: November 20, 2014                   /s/ JASON LAWLEY
15
                                                JASON LAWLEY
16
                                                Counsel for Defendant
17
18
                                               ORDER
19
           IT IS SO ORDERED.
20
     DATED: November 26, 2014
21
22
                                               _____________________________________________
23                                             MORRISON  N C. ENGLLAND, JR, C
                                                                            CHIEF JUDG  GE
                                               UNITED ST TATES DISSTRICT COU  URT
24
25
26
27
28

          3 STIPULATION REGARDING EXCLUDABLE TIME
              PERIODS UNDER SPEEDY TRIAL ACT
